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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

JOHN E. KESTLER, )
Plaintiff, 5
Vv. Civil Action No. 1:20-cv-1366 (RDA/IDD)
ALAN COOK, et al., 5
Defendants.
ORDER

This matter comes before the Court upon the Report and Recommendation
(“Recommendation”) issued by Magistrate Judge Ivan D. Davis on September 13, 2021. Dkt. 16.
In this case seeking enforcement of a Department of Labor Final Order, Judge Davis recommends
that the Court grant Plaintiffs Motion for Default Judgment (Dkt. 11) in the amount of
$122,907.25, which includes $79,118.76 in lost wages; $5,854.79 in interest on lost wages;
$18,655.00 in compensatory damages; and $19,278.70 in attorney’s fees.

On September 23, 2021, Plaintiff filed a response/objection to the Recommendation. Dkt.
17. Plaintiff objects insofar as the Recommendation does not reference the Plaintiff's right to
recover collection fees and costs actually incurred. Plaintiff does not take issue with Judge Davis’s
decision not to include projected attorney’s fees and costs in the judgment or his recommended
final judgment amount, instead asking that the judgment include language explicitly providing
Plaintiff the right to seek post-judgment costs and fees should the need arise. Id.

Pursuant to Federal Rule of Civil Procedure 72, the deadline to object to the

Recommendation was September 27, 2021. To date, no defendant has filed an objection.
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After reviewing the record and conducting a de novo review of Judge Davis’s
Recommendation, the Court hereby APPROVES and ADOPTS the Recommendation. Dkt. 16.
Accordingly, Plaintiffs’ Motion for Default Judgment (Dkt. 11) is GRANTED. It is hereby

ORDERED that default judgment be entered in favor of Plaintiff John E. Kestler against
Defendants Alan Cook, Metropolitan Aviation, and Metropolitan Jets, jointly and severally, in the
amount of $122,907.25. This Order is entered without prejudice to Plaintiffs ability to recover
post-judgment interest and reasonable attorney’s fees and costs incurred in connection with such
collection efforts on an appropriate motion in this Court or any other court where enforcement is
proper.

The Clerk is directed to enter judgment in this matter pursuant to Federal Rule of Civil
Procedure 55, forward copies of this Order to counsel of record, and close this civil action.

It is SO ORDERED.

Alexandria, Virginia
SeptemberA7 , 2021

/s/ (|
Rossie D. Alston, Jn” * -_

United States District Judge
